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(Post 4/4/12)




                                UNITED STATES DISTRICT COURT
                                           EASTERN DISTRICT OF ARKANSAS

                                                     NOTICE


                United States of America

                          V.                                         Case No.:   4: 19CR00572-06 KGB

                 Garrett Joseph Hardin


TYPE OF CASE:
                               •   cIVIL           []]CRIMINAL


[KJTAKE NOTICE that a proceeding in this case has been set for the place, date, and time set forth below:

PLACE                                                      ROOM NO.
Richard Sheppard Arnold United States Courthouse           4C
500 W Capitol Avenue                                       DATE AND TIME
Little Rock AR 72201                                       11/25/2019 at 9:30 a.m.
TYPE OF PROCEEDING

JURY TRIAL before the Honorable Kristine G. Baker, U.S. District Judge.

•    TAKE NOTICE that a proceeding in this case has been continued as indicated below:

PLACE                          DATE AND TIME PREVIOUSLY    CONTINUED TO DATE
                               SCHEDULED                   AND TIME




                                                           JAMES W. McCORMACK, CLERK
                                                           U.S. MAGISTRATE JUDGE OR CLERK Of COURT


                                                           F. Dunn
                                                           (BY) DEPUTY CLERK
